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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION

MALIK SHAHEED X
ADC # 110112                                                                       PLAINTIFF
aka Willie L. Dailey

V.                                   4:09CV00285 GTE


PULASKI COUNTY JUDICIAL BRANCH;
TERRY RANEY-BALL, Deputy Prosecuting
Attorney; JOHN JOHNSON, Asst. Deputy
Prosecuting Attorney; WILLIAM ARDEN
McLEAN, Defense Attorney; and JOHN B.
PLEGGE, Circuit Judge, Pulaski County                                          DEFENDANTS



                                        JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED, and

ADJUDGED that this case be DISMISSED WITHOUT PREJUDICE. Furthermore, the Court

certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal taken from this

Judgment and the accompanying Order would not be taken in good faith.

       DATED this 20th day of April, 2009.


                                           __/s/ Garnett Thomas Eisele___________
                                           UNITED STATES DISTRICT JUDGE
